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 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                             2:11-CR-00339-TLN
12                   Plaintiff,
                                                           PRELIMINARY ORDER OF FORFEITURE
13          v.
14   DUWAYNE LEDOUX,
15                   Defendant.
16

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18          Based upon the entry of plea and the stipulation and application for preliminary order of

19 forfeiture entered into between plaintiff United States of America and defendant Duwayne LeDoux, it is
20 hereby ORDERED, ADJUDGED AND DECREED as follows:

21          1.       Pursuant to 21 U.S.C. § 853(a) and 31 U.S.C. § 5317(c)(1), plaintiff hereby applies for

22 entry of a Preliminary Order of Forfeiture as to the following property:

23                   a.      One 1979 20’ Aluminum Outboard Runabout/Skiff, Hull ID Number
                             AKZC0710K900, Alaska Registration Number AK-3603-H, with Associated
24                           Trailer, and

25                   b.      $19,700 in U.S. currency seized from LEDOUX’s residence pursuant to a state
                             search warrant.
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27          2.       The above-listed property constitutes property involved in and/or property

28 traceable to violations of 21 U.S.C. § 841(a)(1) and 31 U.S.C. § 5324(a)(3).
                                                        1
29                                                                              Preliminary Order of Forfeiture

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 1          3.       Pursuant to Rule 32.2(b)(3), the Attorney General (or a designee) shall be authorized to

 2 seize the above-listed property. The aforementioned property shall be seized and held by the Internal

 3 Revenue Service – Criminal Investigations, in its secure custody and control.

 4          4.       a.      Pursuant to 21 U.S.C. § 853(n) and 31 U.S.C. § 5317(c)(1)(B), and Local Rule

 5 171, the United States shall publish notice of the order of forfeiture. Notice of this Order and notice of

 6 the Attorney General’s (or a designee’s) intent to dispose of the property in such manner as the Attorney

 7 General may direct shall be posted for at least 30 consecutive days on the official internet government

 8 forfeiture site www.forfeiture.gov. The United States may also, to the extent practicable, provide direct
 9 written notice to any person known to have alleged an interest in the property that is the subject of the

10 order of forfeiture as a substitute for published notice as to those persons so notified.

11                   b.      This notice shall state that any person, other than the defendant, asserting a legal

12 interest in the above-listed property, must file a petition with the Court within sixty (60) days from the

13 first day of publication of the Notice of Forfeiture posted on the official government forfeiture site, or

14 within thirty (30) days from receipt of direct written notice, whichever is earlier.

15          5.       If a petition is timely filed, upon adjudication of all third-party interests, if any, this Court

16 will enter a Final Order of Forfeiture pursuant to 21 U.S.C. § 853(a) and 31 U.S.C. § 5317(c)(1), in

17 which all interests will be addressed.

18          SO ORDERED this 1st day of December, 2015.
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22                                                                       Troy L. Nunley
                                                                         United States District Judge
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29                                                                                      Preliminary Order of Forfeiture

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